                       Case 6:11-cv-00679-JO      Document 2     Filed 06/06/11    Page 1 of 10
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               CIVIL RIGHTS COMPLAINT·28 U.S.C §1350 VIENNA CONVENTION VIOLATION


                                    IN THE UNITED STATES DISTRICT CURT
                                        FOR THE DISTRICT OF O~Jt.N'1115:43USDC{!'P


             MILAUDI, KARBOAU,
                  Plaintiff,
                                                                       Case   rev '11- - 679- HO
                   v
                                                                      CIVIL RIGHTS COMPLAINT
             The City of Portland and County of Multnomah
             Oregon; Michael Reese Portland Police Chief;             28 U.S.C §1350
             Denial, Stanton, Multnomah County Sheriff;
             Michael, Schrank, Multnomah County District              VIENNA CONVENTION
             Attorney; Patrick, Callahan Multnomah County             VIOLATILON
             Assistant District Attorney; Jim Lawrence,
             Portland Police Officer; Three John Does
             Portland Police Officers One John Doe
             Portland    Police    Sergeant;  Bill Jeffery,             Jury trial demanded
             Multnomah County Probation Officer; sued in
             their Personal      Individuals, and   Official
             Capacities;
                    Defendants.




                    Plaintiff Milaudi Karboau ("Karboau"), currently detained by the United States

             Immigration & Custom Enforcement (U.S/I.C.E); Northwest Detention Center (NWDC),

             Tacoma, Washington seeks to bring this civil law suit action pursuant to the Alien Tort

             Claims Act, 28 U.S.C. §1350, against the above entitled defendants alleging violations

             of his rights under Article 36 of the Vienna Convention on Consular Relations. This civil

             action authorized by 28 U.S.C §1350 to redress the deprivation under Article 36 of the

             Vienna Convention on Consular Relations (Vienna Convention), Apr. 24, 1963, 21

             U.S.T. 77, T.I.A.S. No. 6820, 596 U.N.T.S. 261, a multilateral treaty. Plaintiff is a citizen

             of Morocco, emigrated to the United States in 1979.

                                                Statement of Claim

                                                                                                         1
                    Case 6:11-cv-00679-JO     Document 2      Filed 06/06/11   Page 2 of 10
..   .
           CIVIL RIGHTS COMPLAINT-28 U.S.C §1350 VIENNA CONVENTION VIOLATION


            On February 4, 2002, Plaintiff was arrested by the City of Portland Police Bureau

         (PPB) officers, for attempting to receive stolen property. During his arrest, detention and

         interrogation in the Police precinct by the defendants, Officer James Lawrence, and his

         colleagues Officers (John Does), and Sergeant, (John Does) of (PPB), he was never

         informed or advised of his right to Consular under Article 36 to the Vienna Convention

         on Consular Relations (Vienna Convention). After the interrogation the police Officers

         went to the Plaintiffs house searched the Plaintiffs house without his consent or

         warrant.

            While Petitioner was setting in the Multnomah County Detention Center (MCDC)

         awaiting the indictment, the same (PPB) Officers want back again to the plaintiffs house

         on February 6, 2002, to the Plaintiff's house and searched the plaintiffs house for the

         second time without his consent or search warrant.

         On February 7,2002, Plaintiff Was indicted and charged with the offenses of: (6) Counts

         of theft in first degree, (1) Count theft in third degree; (1) Count attempted theft in first

         degree; and (1) Count of identity theft (Case No. 020230995), and was released from

         custody on his own recognizance with April 9, 2002, date scheduled for his Court

         hearing.

            Within 10 minutes after he was released from custody on February 7, 2002, and

         arrived home, Plaintiff heard a knock on his front door. When the Petitioner's wife

         Asofitu Karboau opened the door, she saw the next door neighbors Bob and Virginia

         Anderson's son, David Anderson who is a Portland Police Bureau (PPB).Sergeant, told

         the Plaintiffs wife that; I want to speak to your fucking husband. Bob and Virginia

         Anderson are the actual neighbors to the Plaintiff, together with their (PPB) son



                                                                                                    2
                                        ,
         Case 6:11-cv-00679-JO       Document 2     Filed 06/06/11    Page 3 of 10

  CIVIL RIGHTS COMPLAINT-28 U.S.C §1350 VIENNA CONVENTION VIOLATION


Sergeant Anderson who lives in Vancouver, Washington have a long two years history

of an on-going bitter feud between the two neighbors. Since the Plaintiff and his family

bought their house in August 2000, in the Park Rose neighborhood area next to the ·

Anderson's home, they have became subjected to serious harassment, racial profiling,

verbal and physical assault based on their rice, religion and nationalities.

   When Plaintiff heard Sergeant Anderson yelling at his wife in the front door he went

to see what was going on and Sergeant Anderson told the Plaintiff: I have heard of your

arrest of February, 4, 2002, and threatened the Petitioner saying that: "I will use my

"higher authority and not some city clerks" to have you re-arrested and your

house re-searched again in the present of the local newschannel 8 TV'. Plaintiff

was scared to death, from Sergeant Anderson because he was acting ferocious and

without control roaming in the Plaintiffs property with a loaded gun in holster. Plaintiff

politely asked Sergeant Anderson told him: I want you to leave, and to stop trespassing

in my property and harassing me, please leave Plaintiff told Sergeant Anderson. Plaintiff

further reminded Sergeant Anderson that he was in violation of his commander, (PPB)

Lieutenant Myciag whom upon moving in next door to the Anderson's Plaintiff had made

his first complaint against Sergeant Anderson's harassment in August 2000. Lieutenant

Myciag warned Sergeant Anderson to stop harassing the Plaintiff. In his phone

conversation with the Plaintiff, Lieutenant Myciag told the Petitioner that: if Sergeant

Anderson continued to harass or bather you or your family, he will no longer be member

of the (PPB). Sergeant Anderson refused to leave the Petitioner's property and told

Plaintiff: I am not fucking scared of you, and physically pushed the petitioner and his

wife out of their house door way forcing himself into the their living room area and start



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                  Case 6:11-cv-00679-JO      Document 2     Filed 06/06/11    Page 4 of 10
"I   •




           CIVIL RIGHTS COMPLAINT-28 U.S.C §1350 VIENNA CONVENTION VIOLATION


         taking pictures of the petitioner's furniture with the 35 mm. camera he had in his hands.

         After Sergeant Anderson left, Plaintiff immediately called (PPB) and the Internal Affairs

         (IA) complaining about Sergeant Anderson's egregious behavior verbal profanity and

         physical abuse of him and his wife. Plaintiff told the (PPB) that Sergeant Anderson be

         arrested and charged with trespassing, invasion of privacy, verbal profanity and physical

         assault. Instead Plaintiff was sent a complaint form, which he completed and faxed it

         back to (PPB) in the same day. Sergeant Anderson later admits to using profanity on

         Plaintiff and his wife when he invaded their home on February 7, 2002. Prior to

         Sergeant Anderson incident in February 7,2002, Plaintiff also have made several other

         complains against the Sergeant Andersen behavior.

            When Sergeant Anderson was warned by his superior Lieutenant Myciag, not to

         harass the Petitioner any more, Sergeant Anderson used other (officers) friends of his),

         the officers who allocated to patrol the Park Rose neighborhood at midnight shifts start

         to comes at mid-night and issue parking tickets to the Petitioner's cars parked in the

         Petitioner's driveway. Tickets issued were $100 for each ticket, these tickets mounted to

         $1000's. The same officer Mayer who had ticketed the Plaintiffs cars had also two

         weeks later towed two of the Plaintiffs vehicles from the Plaintiff's driveway, of course

         at midnight again while everyone was asleep writing two false towing report of the two

         vehicles, stating the vehicles were illegally parked with a tag problem. How a parked

         vehicle in its owner's a private property driveway is illegally parked? But Officer Mayer

         thought so when lied in his report and fabricated the story about the license plate and

         the sticker. When the Plaintiff had his hearing with the parking patrol officer the finding

         was that officer Mayer who towed the two vehicles acted improperly and the tow illegal,



                                                                                                  4
                 Case 6:11-cv-00679-JO      Document 2      Filed 06/06/11    Page 5 of 10
•   •


        . CIVIL RIGHTS COMPLAINT-28 U.S.C §1350 VIENNA CONVENTION VIOLATION


        and the Plaintiff was reimburse for the towing fees, but Plaintiff was never recovered for

        the emotional stress that caused by the intentional hazing, the lose of time and money

        Plaintiff lost during the ups and downs and the emotional stress ..

           While Plaintiff was out of custody, after his release from jail on February 7,2002, on

        his own recognizance have not been in any trouble, "55 days later" and six days to his

        scheduled April 2, 2002, Court hearing, Sergeant Anderson threat of February 7,2002, I

        will use my "higher authority and not some city clerks" to have you re-arrested

        and your house re-searched again in the present of the local newschannel 8 TV'

        was fulfilled. Just as he said. On April 2, 2002, the same (PPB) officers who had

        arrested the Plaintiff on February 4, 2002, accompanied with 15 other (PPB) Officers,

        Sergeants and staff from the district Office raided the Plaintiff house with the search

        warrant and the newschanneal 8 TV crew. Plaintiff was not home at the time, but his

        wife was, taking a shower at time when the Police nFficers threw the tear-gas-canister

        outside the yard and inside the house to scare the dogs off, yelling and pointing their

        guns at the naked woman (Plaintiff's wife). telling her: Police drop down on the floor

        search warrant, Police drop down on the floor search warrant, pointing guns at her while

        getting out of shower totally naked. The whole incident was witnessed by the nearby

        neighbors while is being video taped by KGW newschannel 8 TV. When Plaintiff come

        home later at abut 10:00 a.m. he found his house swarmed with nearly 10 police cars

        and the KGW newschannel 8 TV crew. He recognized Officer James Lawrence

        chopping out the Plaintiff's iron fence into peaces and loading it in a flatbed truck the

        police brought along with them and other officers inside his house. When Plaintiff

        approached Officer Lawrence he asked him: What the hell are you doing destroying my



                                                                                                5
               Case 6:11-cv-00679-JO        Document 2      Filed 06/06/11     Page 6 of 10
1 '
        CIVIL RIGHTS COMPLAINT·28 U.S.C §1350 VIENNA CONVENTION VIOLATION


      fence. Officer Lawrence handed the Plaintiff a copy of search warrant: There is a search

      warrant for your arrest and to search your house for receiving stolen property and

      identity theft he said. What property? and what identity thetr? Plaintiff asked. You have

      been arrested for that on February 4, 2002, indicted and 1 was released on my own

      recognizance on February. 7, 2002, and for that I am waiting for my Court hearing on

      April 9th • Plaintiff told Officer Lawrence that: I have not received any stolen property

      beside the one I have already taken on February       4h and ffh,   Officer Lawrence then told

      the Plaintiff: Then you re under arrest for probation violation now. Plaintiff told Officer

      Lawrence: I am not on any kind probation. Officer Lawrence told the Plaintiff: you are

      "now". Plaintiff asked Officer Lawrence. How I am in probation? Pointing at Bill Jeffrey of

      Multnomah County Probation Dept officer whom Officer Lawrence brought along with

      him, was standing by him. Officer Lawrence told Plaintiff: This is your probation officer.

      Plaintiff was not on probation at the time nor was he on Probation during the prior arrest

      of February 4, 2002, or have any outstanding warrant. Plaintiff never saw this probation

      officer Bill Jeffery or knew that he was his probation officer. However, after Sergeant

      Anderson threatened the Plaintiff on February 7, 2002, stating that that he was going to

      use his higher authority to lock the Plaintiff up, on March 20, 2002 Officer Bill Jeffery

      sent a letter to the Plaintiff requesting to meet with him in his office. Bill Jeffery then told

      the Plaintiff that he had received a phone call from officer Lawrence and Sergeant

      Anderson of the (PPB) they wants me to check on your probation status. Plaintiff then

      explained and showed Bill Jeffery the probation document from the probation Dept

      stating that his probation: was issued on July 17, 2000, for placing a stop payment on

      my own personal check to an auto mechanic shop, and the probation was terminated on



                                                                                                     6
                  Case 6:11-cv-00679-JO       Document 2     Filed 06/06/11   Page 7 of 10
'   .
    ..
           CIVIL RIGHTS COMPLAINT-28 U.S.C §1350 VIENNA CONVENTION VIOLATION


         April 10, 2001, after the completion of a 80 hours of community service, which was 357

         day, or more then 11 months ago prior to his first initial arrest of February 4, 2002. Bill

         Jeffery told the Plaintiff that: I know that your probation your probation was expired upon

         the completion of your community services, and told the Plaintiff that he was okay: don't

         worry about it.

            During the April 2, 2002 incident, Plaintiff tried to explain the same thing to Officer

         Lawrence. That information was no good or it did not matter to Officer Lawrence,

         because Officer Lawrence was intending to re-arrest the Plaintiff anyway. Officer

         Lawrence then handcuffed the Plaintiff and put him in a police car and told another

         officer to take him downtown, where Plaintiff set in jail and one week later was released

         from the custody with no probation violation filed against him, because Plaintiff was not

         on probation. While Plaintiff was out of custody awaiting his Court hearing of May 1,

         2002, for trial of the February 4, 2002, charges, the Sergeant Anderson "higher

         authority" had the time to figure out to forge and reinstated the one year expired

         probation making it a violation against Plaintiff. On his appearance to Court on May 1st,

         2002, Plaintiff was wrongfully convicted for the non existed probation or probation

         violation and was sentenced to two six months concurrent in the County jail. Plaintiff

         asked his Court appointed attorney Steve Williams to appeal the wrongful probation

         conviction, but his attorney never did file the appeal. After the 30 days allowed for filing

         an appeal has past, Plaintiff was informed by another inmate in the county jail that he

         could file a state habeas corpus, which Plaintiff did on his own. Plaintiff never heard of

         the direct appeal, state or federal habeas corpus, or post conviction before. However

         the state habeas petition the Plaintiff filed on his own was later dismissed as moot



                                                                                                    7
         Case 6:11-cv-00679-JO        Document 2      Filed 06/06/11    Page 8 of 10

  CIVIL RIGHTS COMPLAINT-28 U.S.C §1350 VIENNA CONVENTION VIOLATION


because at the time Plaintiff has already served the six months time in jail and he was

no longer in custody for that matter. Upon the completion of the County jail time, Plaintiff

was again indicted and charged for the April 2, 2002, re-arrest with (2) counts of

aggravated theft in the first degree, (5) counts of theft in the first degree and (9) counts

of identity theft which the state were unable to prove these charges were occurred.

Case No.XX-XXXXXXX.

   During the April 2nd , 2002 re-arrest (the arresting police officers, Sergeants) of the

(PPB), and Bill Jeffery of the Multnomah County Probation Department who were

present during the re-arrest did not informed or advised of the Plaintiff of his right to

Consular under Article 36 to the Vienna Convention on Consular Relations (Vienna

Convention). Again, during the prosecution by the distract attorney, the Plaintiff was not

informed or advised of his right to Consular under Article 36 to the Vienna Convention

on Consular Relations (Vienna Convention).

   The Vienna Convention on Consular Relations requires the states and the

government officers to notify a foreign national who has been arrested, imprisoned or

taken into custody of his right to contact a consulate from his country of origin. Vienna

Convention on Consular Relations, Apr. 24,1963, art. 36(b), 21 U.S.T. 77, 596 U.N.T.S.

261. Alleging that the law enforcement officers violated his rights under this treaty.

   In this complaint, Plaintiff is not only seeking to "compensate damages "for violation of his

International Rights, but also to deter the Portland Police Bureau (PPB) and the County of

Multnomah County Law Enforcement Agencies or any other Law Enforcement Agency across

the nation from committing the same violation". The United States has been a party to the

Vienna Convention on Consular Relations (Vienna Convention), Apr. 24, 1963, 21 U.S.T. 77,

T.I.A.S. No. 6820, 596 U.N.T.S. 261, a multilateral treaty. Among other things, the Vienna


                                                                                              8
                    Case 6:11-cv-00679-JO        Document 2       Filed 06/06/11     Page 9 of 10
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            CIVIL RIGHTS COMPLAINT·28 U.S.C §1350 VIENNA CONVENTION VIOLATION


          Convention requires its member states to ensure that a foreign national charged with a violation

          of host country law knows that he or she has the right to contact an official representative of his

          or her native country for assistance with legal proceedings. Plaintiff asserts that this Court has

          jurisdiction of his claim under 28 U.S.C. 1331 and §1343(a) (3). (Federal question jurisdiction),

          1332 (diversity jurisdiction), and 1350 (the Alien Tort Claims Act). Plaintiff seeks declaratory

          relief pursuant to 28 U.S.C. §2284 and Rule of 65 of the Federal Rules of Civil procedure. The

          United States District Court in Oregon is an appropriate venue under 28 U.S.C Section §1391

          (b) (2) because it is where the events giving rise to this claim occurred. Plaintiff's complaint

          relies on the Alien Tort Statute (ATS), 28 U.S.C. 1350, which establishes jurisdiction in

          the district courts over a civil action by an alien for a tort committed in violation of a

          treaty of the United States. In this complaint Plaintiff alleges that he is the victim of a tort

          committed in violation of a treaty of the United States--the Vienna Convention. Plaintiff's

          complaint relies on the Alien Tort Statute (ATS), 28 U.S.C. 1350, which establishes

          jurisdiction in the district courts over a civil action by an alien for a tort committed in

          violation of a treaty of the United States. Among other things, the Vienna Convention

          requires its member states (countries) to ensure that a foreign national charged with a

          violation of host country law knows that he or she has the right to contact an official

          representative of his/her native country for assistance with legal proceedings. Plaintiff

          seeks compensatory and punitive damages for the violation of his rights under Article 36

          which led, to deprivation.

             The Plaintiff has no plain, adequate or complete remedy at law to redress the

          wrongs described herein. Plaintiff has been and will continue to be irreparably inured by

          the conduct of the defendant unless this Court grants the declaratory relief which

          Plaintiff seeks


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~    ,.   "   ..                Case 6:11-cv-00679-JO     Document 2    Filed 06/06/11      Page 10 of 10

                     CIVIL RIGHTS COMPLAINT·28 U.S.C §1350 VIENNA CONVENTION VIOLATION


                   WHEREFORE, Plaintiff respectfully prays that this Court enter judgment granting

                   Plaintiff:

                   A declaration that the acts and omissions described herein violated plaint's rights under

                   the under Article 36 to the Vienna Convention on Consular Relations (Vienna

                   Convention).

                       Compensatory damages in the amount of eight million dollars $8,000,000.00 from

                   the city of Portland, Oregon defendants, and four million dollars $4,000,000.00 from the

                   Multnomah County, Oregon defendants

                       A jury trial on all issues triable by jury

                       Plaintiff costs in this suit and

                       Any additional relief this Court deems just proper, and equitable.

                       Please note that in this (Vienna Convention) claim, Plaintiff is not challenging his

                   false arrest, illegal search and seizure or malicious prosecution as indicated above. In

                   this particular claim Plaintiff is challenging the violation of his rights under Article 36 to

                   the Vienna Convention on Consular Relations (Vienna Convention) only. Plaintiff is

                   currently challenging his criminal conviction, false arrest, illegal search and seizure in

                   separate claim, currently pending in this Court. See MILAUDI KARBOAU, vs. JOHN R.

                   KROGER, Oregon Attorney General Case No: 11-274-JO.

                   DATED this 25 th , day of May 2011.


                   Respectfully submitted




                                            1623 East J Street, suite #5 Tacoma, WA 98412




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